             Case 1:21-cr-00060-CKK Document 13 Filed 04/14/21 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
            v.
                                                            Criminal No. 21-60 (CKK)
 JESUS RIVERA,
                 Defendant.


                                            ORDER
                                         (April 14, 2021)

            Pending before the Court is the United States of America’s [9] Unopposed Motion to

Continue and to Exclude Time Under the Speedy Trial Act. The parties have conferred, and Mr.

Rivera has confirmed his consent to the government’s requested relief. See Pl.’s Stmt., ECF No.

12, at 1.

        Upon review of the pending motion and the record herein, the Court finds that the

investigation into the events that gave rise to the charges against Mr. Rivera is so unusual and

complex that it is unreasonable to expect adequate preparation for pretrial proceedings within the

time limits established by the Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(B)(ii). Specifically,

this case involves unusually voluminous discovery, which the government must review and

produce to Mr. Rivera in order for both sides to prepare for further proceedings.

        The Court, therefore, finds that the interests of justice are served by continuing this case

and tolling the computation of time under the Speedy Trial Act for a period of approximately sixty

days, from April 6, 2021 through and including June 7, 2021. This continuance will allow the

parties adequate time to produce and review discovery materials. For the reasons stated in this

Order and because Mr. Rivera consents to the government’s motion, the Court finds that the




                                                 1
          Case 1:21-cr-00060-CKK Document 13 Filed 04/14/21 Page 2 of 2




interests of justice served by such action outweigh the best interests of the Defendant and the public

in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). It therefore is hereby

       ORDERED that the United States of America’s [9] Unopposed Motion to Continue and

to Exclude Time Under the Speedy Trial Act is GRANTED; it is

       FURTHER ORDERED that this action is continued from April 6, 2021 through and

including June 7, 2021; it is

       FURTHER ORDERED that in the interests of justice, the time from April 6, 2021 through

and including June 7, 2021 is excluded from the Speedy Trial Act computation. With this

exclusion of time, the Court calculates that Mr. Rivera’s current “70-day” deadline is now August

16, 2021. See 18 U.S.C. § 3161(c)(1). The Court finds that the “90-day” deadline is inapplicable

in this case, given Mr. Rivera’s release from custody. See 18 U.S.C. § 3164.; it is

       FURTHER ORDERED that the parties shall appear before the Court for a status

conference on June 7, 2021 at 2:00 p.m.

       SO ORDERED.

Dated: April 14, 2021
                                                             /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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